Case 2:04-cv-02863-.]DB-dkv Document 15 Filed 06/02/05 Page 1 of 2 Page|D 7

 

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IN THE UNITED sTATES DISTRICT coURT nlra HY,-J%»--~D-C~
FOR THE WESTERN DISTRICT OF TENNESSEE ' _
WESTERN DNISION 05 JUN -2 AH |U- 13
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Jerrica Porter by mother, Jeannette Porter W- 11 C*F: TN- 11115'1"1"'1"115
Appellant,
v. Case No.: 2:04cv2863-B/v

Commissioner of Social Seeurity

Appellee.

 

ORDER SETTING SCHEDULING IN SOCIAL SECURITY CASE

 

The issues in the above-referenced matter having been joined, it is hereby ordered that the
following schedule shall be followed:

l. Appellant shall file a brief in support of the asserted claim within 30 days of the
entry hereof.

2. Appellee’s brief in response shall be filed within 30 days of the filing of
appellant’s brief.

3. Reply brief may be filed within 10 days of the filing of appellee’s response brief.
No further briefs Shall be filed without leave of Court.

Entered this an day of June, 2005.

ROBERT R. Di TROLIO, CLERK

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02863 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

